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                             2024-1037
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         UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                 __________________________________


               IN RE: GESTURE TECHNOLOGY PARTNERS, LLC,

                                                     Appellant.
   _____________________________________________________________
           Appeal from the United States Patent and Trademark Office,
    Patent Trial and Appeal Board in Ex Parte Reexamination No. 90/014,900
   _____________________________________________________________
                  BRIEF FOR APPELLEE - DIRECTOR OF THE
               UNITED STATES PATENT AND TRADEMARK OFFICE



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                          Representative claims 1 and 11


      1. A computer implemented method comprising:

     providing a light source adapted to direct illumination through a work
volume above the light source;

      providing a camera oriented to observe a gesture performed in the
work volume, the camera being fixed relative to the light source; and

     determining, using the camera, the gesture performed in the work
volume and illuminated by the light source.



      11. A computer apparatus comprising:

      a light source adapted to illuminate a human body part within a work volume
generally above the light source;

       a camera in fixed relation relative to the light source and oriented to observe
a gesture performed by the human body part in the work volume; and

       a processor adapted to determine the gesture performed in the work volume
and illuminated by the light source based on the camera output.


(Appx47.)
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                      STATEMENT OF RELATED CASES

      Appellant, Gesture Technology Partners, LLC, (Gesture), seeks relief from

the final decision of the Patent Trial and Appeal Board (Board) of the U.S. Patent

and Trademark Office (USPTO) in the ex parte reexamination of its expired patent,

U.S. Patent No. 8,553,079 (the ’079 patent). The Director is not aware of any

other appeal in connection with this proceeding that was previously before this

Court. To the Director’s knowledge, there are no other cases pending in this or any

other tribunal that will directly affect or be directly affected by a decision in this

appeal beyond those cases identified in Gesture’s opening brief to this Court.




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                       I. STATEMENT OF THE ISSUES

      Gesture seeks the reversal of an ex parte reexamination decision holding all

but two of its patent claims anticipated and/or obvious. Representative claims 1

and 11 are broadly drawn to a computer-implemented method and apparatus,

respectively, comprising a light source for illuminating a work volume, a camera

for capturing a finger gesture made within the work volume, and a processor for

determining the gesture.

      The Board found claims 1 and 11 anticipated by Liebermann’s electronic

communication system, which uses lamps to illuminate a work volume, a camera

positioned to capture finger gestures formed by a deaf person using American Sign

Language (ASL), and a central processing facility to determine the gestures and

convey a corresponding message to another person. The Board also affirmed the

Examiner’s finding that dependent claim 8’s step of determining a position of a

point on a user is anticipated by Liebermann’s teachings concerning the use of a

fast Fourier transform (FFT) algorithm to calculate the center of gravity of a user’s

hands and path analysis.

      Finally, the Board found that ordinary artisans would have been motivated to

substitute Liebermann’s lamps with Sears’ LED light sources according to

dependent claims 2 and 3 because LEDs were known to provide more intense light

and be more energy efficient.
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Gesture’s opening brief raises five issues on appeal:

    1. Whether the Board correctly construed the term “computer apparatus” in the
       preamble of claim 11 as not restricting its components (i.e., the light source,
       camera, and processor) to a unitary device;
    2. Whether substantial evidence supports the Board’s finding that Liebermann
       anticipates representative claims 1 and 11 and dependent claim 8;
    3. Whether substantial evidence supports the Board’s finding that Liebermann
       and Sears render dependent claims 2 and 3 obvious;
    4. Whether Liebermann raises a substantial new question of patentability
       warranting reexamination of the ’079 patent; and
    5. Whether the agency’s grant of reexamination was proper given that the ’079
       patent was already expired at the time of grant.

                        II. STATEMENT OF THE CASE

       Gesture is the owner of the expired ’079 patent. A third party sought and

was granted ex parte reexamination of the ’079 patent. (See Appx48; Appx54;

Apxx283-285.) During subsequent reexamination, the Examiner rejected claims 1,

4-9, 11, 12, and 17-20 under 35 U.S.C. § 102 as being anticipated by Liebermann.

(Appx385-400; Appx419-461.) The Examiner also rejected claims 2, 3, 14, and 15

under 35 U.S.C. § 103 as obvious over Liebermann and Sears, and claims 16, and

21-30 as obvious over Liebermann and other prior art. (Appx400-418; Appx461-

476.) The Board affirmed each of the Examiner’s rejections.1 (See Appx29.)

Gesture now appeals the Board’s determination to this Court.



1
  Claims 10 and 13 of the ’079 patent were confirmed by the Examiner during
reexamination. (Appx2.)
                                          2
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A. The claimed method and apparatus for determining a gesture

      The ’079 patent discloses a method and apparatus “for determining a gesture

illuminated by a light source . . . [within] a work volume above the light source”

and a camera “positioned to observe and determine the gesture performed in the

work volume.” (Appx32 at Abstract.) The ’079 patent describes “[f]inger

gestures” as “a sequence of finger movements . . . such as the motion of the finger,

or one finger with respect to another such as in pinching something.” (Appx42 at

col.3, ll.48-51; see also Appx41 at col.2, ll.58-59.)

      In the “computer keyboard-based embodiment” depicted in Figure 1

(below), a pair of cameras 100 and 101 located on each side of the keyboard are

pointed toward the center of a work volume 170 located above the keyboard:




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(Appx34; see also Appx41 at col.2, ll.39-45.) As shown, a central light 122

illuminates the work volume 170, thereby allowing cameras 100 and 101 to better

capture finger gestures made within the work volume 170. (See Appx42 at col.3,

ll.1-8, 48-51.)

      In other embodiments, the camera(s) may be attached to a handheld device

or wall mounted.




(See Appx39 at Fig.6; see also Appx45 at col.9, ll.26-43 (describing cameras 902

and 910 mounted on side of a handheld computer 901); id. at col.10, ll.26-29

(describing wall-mounted cameras 980 and 981 “used to look at the handheld

computer module 901.”).)




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      Once a gesture is determined from camera data, the gesture may prompt a

computer to perform certain responsive functions, such as playing a prerecorded

message (see Appx43 at col.5, ll.49-58) or moving a virtual object on a TV or

computer screen (see Appx44 at col.7, ll.30-34, 39-52). The ’079 patent

specifically teaches that vectors (i.e., mathematical representations of the gesture

data) indicating the gesture may be relayed over the internet to a remote computer

1030 to determine an appropriate responsive function for the gesture. (See Appx45

at col.10, ll.50-53; Appx46 at col.11, ll.12-25; Appx40 at Fig. 7A.)

      Independent claim 1 is representative of Gesture’s method claims:

                    1. A computer implemented method comprising:

                  providing a light source adapted to direct illumination
             through a work volume above the light source;

                    providing a camera oriented to observe a gesture
             performed in the work volume, the camera being fixed
             relative to the light source; and

                    determining, using the camera, the gesture performed
             in the work volume and illuminated by the light source.

(Appx47 (emphases added).) Dependent claims 2 and 3 recite that the light source

of claim 1 further includes “a light emitting diode” and/or “a plurality of light

emitting diodes,” respectively. Id. Dependent claim 8 recites the method of

claim 1 further including a step of “determining the three-dimensional position of a

point on a user.” Id.


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      Independent claim 11 is representative of Gesture’s apparatus claims:

                   11. A computer apparatus comprising:

                   a light source adapted to illuminate a human body part
             within a work volume generally above the light source;

                    a camera in fixed relation relative to the light source and
             oriented to observe a gesture performed by the human body
             part in the work volume; and

                   a processor adapted to determine the gesture
             performed in the work volume and illuminated by the light
             source based on the camera output.

(Appx47 (emphases added).)

B. The cited prior art2

      1. Liebermann’s computer-implemented, gesture-based method and
         apparatus for communication by and with a deaf person

      Liebermann3 discloses a computer-implemented method and apparatus that

enables a deaf person to communicate with a hearing person. (Appx321 at col.1,

ll.11-14; Appx322 at col.3, ll.11-13, 19-21, 26-33.) Broadly speaking,

Liebermann’s method and apparatus uses a camera to capture finger gestures

formed as a deaf person “speaks” using ASL, determines the gestures, and relates

the corresponding words (i.e., the signed message) to another person. During


2
  The Mack and Sako prior art references, included in the obviousness
combinations for certain dependent claims, (see Appx29), are not separately at
issue in this appeal, (see Br. 8-9, 41-45). The Director has therefore not included
them in the following discussion of the prior art.
3
  U.S. Patent No. 5,982,853 (Liebermann). (Appx304-328.)
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operation, the images entering the camera “are processed by a digital device which

does initial and extended image processing . . . whereby [each] image is

transformed into manageable identifiers.” (Appx322 at col.4, ll.61-66.) These

identifiers are then transmitted to a central processing facility either wirelessly or

over conventional telephone lines. (See Appx322 at col.4, ll.66 to Appx323 at

col.5, l.5; Appx323 at col.5, l.67 to col.6, l.2.) Next, the processing center

correlates the identifiers with a database of vocabulary and grammar using

artificial intelligence. (Appx323 at col.5, ll.2-5.) The resulting message may then

undergo a text-to-synthesized-speech transformation, and the speech is sent as an

analog signal to any ordinary telephone utilized by a hearing person on the other

end. (See Appx323 at col.5, ll.7-11.) In turn, the hearing person may speak

normally into their telephone and the processing center will use speech recognition

algorithms to convert the spoken word to text, which is conveyed back to the deaf

person as signing animation. (Appx323 at col.5, ll.14-25.)

      In one embodiment (see Figure 6 below), Liebermann discloses a “portable

transmitter/receiver” in the “form of a cellular telephone”:




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(Appx310 at Fig.6; Appx322 at col.4, ll.20-21; Appx323 at col.5, ll.62-63.) This

embodiment includes portable transmitter/receiver 8 for use by a deaf person, a

video camera with lens 10 disposed in the upright portion 12 of base portion 13 to

capture finger gestures made in the area above base portion 13, and an LCD

display panel 14 positioned below the area above base portion 13 where the

gestures are made. (See Appx323 at col.5, l.62 to col.6, l.14.) This embodiment

also includes an antenna 18 so that the device “may be transported and

communicate as a wireless remote or through a cellular telephone network.”

(Appx323 at col.5, l.67 to col.6, ll.1-2.) Liebermann explains that the cellphone

works in conjunction with “a dedicated central computer facility” to “provide a

novel electronic communication system for use by deaf persons to enable . . .

communication by and to deaf persons.” (Appx322 at col.3, ll.11-24; Appx323 at

col.6, ll.10-12.)


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      In other embodiments, Liebermann discloses that the method and apparatus

may comprise “a personal computer 30 including [a] monitor 32 and a video

camera 34” (see Figure 5a below), “a computer unit 36 and a video camera 38 . . .

on top of a standard television set 40 so as to be at hand level” (see Figure 5b

below), or “a public kiosk 42 [that] has built into it, a video camera 44, a video

monitor 46, and lamps 48 [to] ensure adequate lighting of the user’s hands, face

and body” (see Figure 5c below):




(Appx309 at Fig.5; Appx323 at col.5, ll.53-59.)

      Regarding determining a gesture, Liebermann instructs that “ASL is a

visual-spatial language requiring simultaneous, multiple, dynamic articulations,”

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and that “[a]t any particular instant, one has to combine information about the

handshape (Stokoe’s dez4), the motion (Stokoe’s sig) and the spatial location of the

hands relative to the rest of the body (Stokoe’s tab).” (Appx325 at col.10, ll.59-64.)

As illustrated in Figure 9, this requires “calculating centers of gravity for both

hands,” which itself involves finding an “FFT [fast Fourier transform] of paths of

the hands” as well as performing an “explicit path analysis” of the hands.

(Appx313 at Fig.9; see also Appx322 at col.4; ll.31-32.) In other portions of this

process, a “2 hand FFT and their location” are determined by a static gesture

manager, and a “right hand FFT” is determined by a spelling mode manager.

(Appx313 at Fig.9.)

      Liebermann also reveals that “special gloves” may be worn by the user to

better discriminate between the hands and the background and “enhance the ability

of the system to recognize important detail of the hand shapes during the actual

gesturing of sign language.” (Appx326 at col.12, ll.40-43; see also Appx317 at



4
   “Stokoe notation” is a phonemic script created by William Stokoe for ASL,
wherein Latin letters and numerals are used to symbolize hand shapes in
fingerspelling, and iconic glyphs are used to transcribe the position, movement,
and orientation of the hands. See Sign Language Structure, William Stokoe,
Linstok Press (1978) (Appx353-357; Appx367-370) (cited in Liebermann at
Appx325 at col.10, ll.54-58). Stokoe notation uses terms tab (“tabula or sign
location), dez (“designator” or handshape and orientation), and sig (“signation” or
motion and action) to categorize features of sign-language phonemes, somewhat
like the distinction between consonant, vowel, and tone is used in the description
of oral languages. Id.
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Fig.13, Appx318 at Fig. 14.) To that end, Liebermann also describes using three-

dimensional video cameras to “facilitate recognition of signing motions by

enhancing spatial differences.” (Appx327 at col.13, ll.29-31.)

        2. Sears’ gesture-based electronic reading apparatus and method

        Sears5 describes a gesture-based reading method and apparatus including a

camera oriented to observe a work volume wherein:

              An optical-input print reading device with voice output for
              people with impaired or no vision in which the user provides
              input to the system from hand gestures. Images of the text to
              be read, on which the user performs finger- and hand-based
              gestural commands, are input to a computer, which decodes the
              text images into their symbolic meanings through optical
              character recognition, and further tracks the location and
              movement of the hand and fingers in order to interpret the
              gestural movements into their command meaning. In order to
              allow the user to select text and align printed material, feedback
              is provided to the user through audible and tactile means. . . In
              addition, alternative device configurations . . . include[e] the
              use of cameras located on worn platforms, such as eyeglasses,
              or on a fingertip system. The use of gestural commands is
              natural, allowing for rapid training and ease of use.

(Appx330 at Abstract (emphases added).)

        In the embodiment depicted in Figure 1a (below), Sears’ electronic reading

machine 29 comprises a main system 35 mounted on video monitor 31, a camera

mount 37 that protrudes beyond the top front edge of monitor 31 so that the camera

lens 43 is positioned over the surface on which printed material 33 is placed:


5
    U.S. Patent No. 6,115,482 (Sears). (Appx330-351.)
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(Appx331 at Fig.1; see also Appx338 at col.4, l.63 to Appx339 at col.5, l.4,

Appx339 col.5, ll.8-12.) As shown in Figure 1b, camera mount 37 “comprises one

or more electronic imaging devices (such as CCD or CMOS . . . cameras).”

(Appx339 at col.5, ll.5-6.)

      Sears discloses that, in some embodiments, camera mount 37 may also

incorporate one or more illumination sources, so as to provide constant

illumination over the field of view, which are shown in Figure 1b as two rows of

illumination sources 45 along the lateral edges of camera mount 37. (Appx339 at

col.5, ll.13-1.7.) Sears indicates that “illumination sources 45 may comprise rows

of LEDs, thin fluorescent sources (such as T1 lamps often used as illumination for

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backlit displays on portable computers), or may be other sources including

incandescent sources.” (Appx339 at col.5, ll.16-20.)

C. The Examiner’s rejections

      The Examiner found that Liebermann’s gesture-based, computer-

implemented method and apparatus anticipates representative claims 1 and 11. In

particular, the Examiner found that Liebermann’s deaf person’s station

embodiment in Figure 5a includes a work station with a monitor 32 and a video

camera 34; the personal computer embodiment shown in Figure 5b includes a

computer unit 36 and a video camera 38 on top of a standard television set 40 so as

to be at hand level; and the public kiosk 42 embodiment shown in Figure 5c

includes a video monitor 46 and a video camera 44, positioned so that the camera

will record the signing movement of the hands and fingers and body and facial

motions and expressions. (Appx666 (citing Appx323 at col.5, l.61 to col.6, l.14).)

      With respect to the kiosk embodiment, the Examiner found that the claimed

“‘work volume’ is the space in the point of view of Liebermann’s camera/lens that

captures image of signing/gesture.” (Appx665.) The Examiner also found that

illumination of the work volume according to claim 1 is best exemplified in this

embodiment where the “bottom most lamp is below the work space where a user

signs.” (Appx666, Appx669.)




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       Next, the Examiner found that Liebermann’s cellphone embodiment in

Figure 6 includes a portable transmitter/receiver 8 for use by a deaf person, a video

camera with lens 10 disposed in the upright portion 12 of base portion 13 to

capture finger gestures made in the area above base portion 13, and LCD display

panel 14 positioned below the area above base portion 13 where the gestures are

made. (Appx665 (citing Appx323 at col.5, l.61 to col.6, l.14).) The Examiner

found that this embodiment includes “‘hardware that works with [a] camera to

view and obtain images of hand gestures’” and performs “‘initial processing’” of

the hand gestures according to claim 1. (Appx663 (quoting Appx323 at col.5, l.62

to col.6, l.10; id. at col.6, ll.40-52).)

       The Examiner also found that Liebermann’s cellphone embodiment may

include an antenna to “communicate as a wireless remote or through a cellular

telephone network” with “‘a dedicated central computer facility.” (Appx665

(quoting Appx323 at col.5, l.62 to col.6, l.2; citing Appx322 at col.3, ll.11-13, 22-

67, Appx323 at col.5, l.62 to col.6, l.14).) The Examiner found that the central

computer facility uses the camera image data to determine the gesture performed in

the work volume, as recited in claim 1. (Appx663 (citing Appx323 at col.5, l.62 to

col.6, l.2).) The Examiner further found that the data captured by the camera in

Liebermann’s kiosk embodiment are processed in much the same way as in




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Liebermann’s cellphone embodiment. (Appx665-666 (citing Appx323 at col.6,

ll.36-38; Appx313-316 at Figs.9-12).)

      On the foregoing findings, the Examiner found that Liebermann discloses

every limitation recited in and, thus, anticipates representative claims 1 and 11.

(Appx663-672.)

      The Examiner also found that Liebermann discloses the further limitation in

dependent claim 8 of “determining the three-dimensional position of a point on a

user.” Specifically, the Examiner found that Liebermann’s method and apparatus

calculates the center of gravity of a user’s hand using FFT and conducts path

analysis to determine the position of a point on the user’s hand. (Appx681 (citing

Appx325 at col.10, ll.59-64; Appx313 at Fig.9).) The Examiner also cited

Liebermann’s disclosures regarding the use “special gloves” to “allow

discrimination of the hands from the background for the image processing system”

and determining direction of a pointing finger by a deaf person signing.

(Appx681-682 (citing Appx327 at col.13, ll.22-23 (for suggesting that

“coordinates” of signs are determined); Appx324 at col.7, l.44 to Appx325 at col.9,

l.27 (for disclosing an algorithm for detecting and tracking the location of various

parts of the head, torso, arms, and legs) (cleaned up).) Based on these findings, the

Examiner found that Liebermann discloses every limitation recited in and, thus,

anticipates dependent claim 8. (Appx681-682.)


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      Finally, the Examiner found that it would have been obvious to replace

Liebermann’s lamps 48 with a light source that includes “a light emitting diode”

according to dependent claim 2 and/or “a plurality of light emitting diodes”

according to dependent claim 3. In particular, the Examiner found that it would

have been obvious for artisans to substitute one light source for another light

source “‘to ensure adequate lighting of the user’s hands, face and body’” and “‘to

provide constant illumination over the field of view,’” as described in Liebermann

and Sears. (Appx706 (quoting Appx323 at col.5, ll.52-58 and Appx323 at col.5,

ll.13-35, respectively).) The Examiner found that an ordinary artisan would have

been further motivated to substitute Liebermann’s lamp 48 with an LED light

source or a plurality of LEDs as used by Sears because LEDs were known in the

art to be a “more intense and more efficient light source.” (Appx599 (citing

Appx829 at col.14, ll.44-56).) Accordingly, the Examiner found that dependent

claims 2 and 3 would have been obvious based on the disclosures in Liebermann

and Sears. (Appx601.)

D. The Board’s decision

      The Board affirmed the Examiner’s rejection of Gesture’s claims 1, 4-9, 11,

12, and 17-20 as anticipated by Liebermann, claims 2, 3, 14 and 15 as obvious over

Liebermann and Sears, and claims 16 and 21-30 as obvious over Liebermann and

other prior art. (See Appx28-29.) Only the first two sets rejections are at issue on


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appeal. In its decision, the Board expressly adopted the findings and reasoning in

the Examiner’s final Office Action and the responses to Gesture’s arguments in the

Examiner’s Answer. (Appx8.)

      1. Anticipation of claims 1, 4-9, 11, 12, and 17-20 by Liebermann

      In affirming the Examiner’s anticipation rejection, the Board designated

claim 1 as representative of claims 4-7 and 9 and claim 11 as representative of

claims 12 and 17-20. (Appx4.)

             a. Construction of the term “computer apparatus” in
                representative claim 11

      Before assessing the novelty of representative claim 11, the Board first

responded to Gesture’s claim construction argument. (Appx9.) In particular, the

Board found unpersuasive Gesture’s argument that the term “computer apparatus”

should be construed so as to limit claim 11 to a unitary device containing a light

source, a camera, and a processor adapted to determine a gesture. The Board

began its analysis by observing that the list of patent-eligible subject matter in

35 U.S.C. § 101 does not include an “apparatus,” but rather lists a “machine.”

(Appx10.) The Board then noted that the courts have consistently construed the

term “machine” to include “either a singular device or a combination of devices

(e.g., a system).” Id. (citing Digitech Image Techs. LLC v. Elec. for Imaging, Inc.,

758 F.3d 1344, 1348-49 (Fed. Cir. 2014); In re Nuijten, 500 F.3d 1346, 1355 (Fed.

Cir. 2007) (quoting Corning v. Burden, 56 U.S. 252, 267 (1854)). The Board also
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found that nothing recited in claim 11 precluded a distributed system. (Appx11,

Appx13.) Accordingly, the Board found no distinction between a “‘machine’ (as

in the statute) and an ‘apparatus’ (as claimed here),” and construed the term

“computer apparatus” to include either a singular device or a combination of

devices. (Appx10-11.)

                b. Anticipation of representative claims 1 and 11

      Proceeding to the Examiner’s anticipation findings with respect to

representative claims 1 and 11, the Board considered each of Gesture’s rebuttal

arguments and found them to be unconvincing.

      Based on its construction of the term “computer apparatus,” the Board found

Gesture’s argument that Liebermann cannot anticipate claim 11 because

Liebermann’s system operates over several devices unavailing. (Appx11,

Appx13.) The Board was similarly unswayed by Gesture’s argument that

Liebermann’s system does not function according to claims 1 and 11 because the

gesture data captured by the claimed camera is sent directly from the camera to a

computer, whereas the signed images captured by Liebermann’s camera are

converted into manageable identifiers and then sent to a central processing unit

(i.e., sent indirectly). (Appx12 (citing Appx499-500) (emphases added).) The

Board found the alleged distinction immaterial because Liebermann’s “identifiers

are themselves based on the captured image” and, thus, its “executed functions are


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. . . determined based on the captured image.” (Appx13 (citing Appx322 at col.4,

l.60 to Appx323 at col.5, l.5).) Accordingly, the Board found that Liebermann

teaches “determining . . . ‘based on’ the captured image” within the meaning of

claim 11. (Appx13.) The Board found Gesture’s related arguments about claim 1

inapt for the same reasons. (Appx14.)

            c. Anticipation of dependent claim 8

      Finally, the Board was unconvinced by Gesture’s argument that Liebermann

does not anticipate dependent claim 8, which further recites “determining the

three-dimensional position of a point on a user.” (Appx524.) In particular,

Gesture disputed the Examiner’s finding that Liebermann’s system uses “three[-

]dimensional video cameras to ‘facilitate recognition of signing motions by

enhancing spatial differences.’” (Appx504 (quoting Appx438, in turn quoting

Appx327 at col.13, ll.29-31).) According to Gesture, “‘enhancing spatial

differences’ does not necessarily mean ‘determining the three-dimensional position

of a point on a user,’ as required by claim 8.” (Appx504; see also Appx15.)

Gesture further argued that Liebermann’s “‘path analysis’ of hands does not

necessarily implicate three-dimensions” because “Liebermann is silent regarding

any of the analyses/calculations” used in the path analysis. (Appx504 (emphasis

omitted); see also Appx16.)




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      The Board disagreed, finding that “Liebermann does characterize its

calculation as ‘calculating centers of gravity for both hands’ at Figure 9 on the left

side at the fifth box down in the figure.” (Appx16 (emphasis original); see also

Appx313 at Figure 9.) The Board also agreed with the Examiner that

Liebermann’s system must determine the position of a point on a user’s fingers and

hands because “‘ASL is a visual-spatial language requiring simultaneous, multiple,

dynamic articulations,’” which “‘[a]t any particular instant, one has to combine

information about the handshape . . . , motion . . . and . . . spatial location of the

hands relative to the rest of the body.’” Appx16 (emphasis omitted) (quoting

Appx437-438, in turn quoting Appx325 at col.10, ll.59-64).) Accordingly, the

Board found that Liebermann uses FFT to “determine the position of a point on the

user’s hand, which is a ‘point on a user’” as recited in dependent claim 8.

      3. Obviousness of claims 2, 3, 14, and 15 based on Liebermann
         and Sears

      In affirming the Examiner’s obviousness rejection, the Board designated

claim 2 as representative of 14 and claim 3 as representative of 15. (Appx5.) The

Board agreed with the Examiner that Liebermann and Sears render obvious the

limitation in dependent claims 2 and 3 requiring that the light source of claim 1

include either “a light emitting diode” (claim 2) or “a plurality of light emitting

diodes” (claim 3). Specifically, the Board found that it would have been obvious

to substitute Sears’ LEDs into Liebermann’s lamp 48 to illuminate the claimed
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work volume given Liebermann’s disclosures about the need to “ensure adequate

lighting of the user’s hands, face and body” (Appx323 at col.5, ll.52-58), and

Sears’ similar disclosures regarding the inclusion of LED illumination sources 45

in computer-mounted and freestanding cameras “to provide constant illumination

over [a] field of view” and “relatively even illumination” (Appx339 at col.5, ll.13-

35). (Appx17 (citing Appx463).) Next the Board found each of Gesture’s rebuttal

arguments uncompelling.

       First, the Board rejected Gesture’s argument that Sears was nonanalogous

art. More specifically, the Board did not agree with Gesture’s argument that the

claimed method and Sears are in different fields of endeavor because the claimed

method allegedly concerns computing devices whereas Sears concerns an

electronic reading machine. (Appx18 (citing Appx506, Appx618).) Rather, the

Board found that the ’079 patent expressly teaches that the claimed invention

“relates to simple input devices for computers, particularly, but not necessarily,

intended for use with 3-D graphically intensive activities, and operating by

optically sensing object or human positions and/or orientations.” (Appx19

(quoting Appx41 at col.1, ll.53-57) (emphases added by Board).) The Board found

that Sears similarly discloses that “[i]t is an object of [Sears’] invention . . . to

specify control system parameters through manual gestures.” (Appx19 (quoting

Appx338 at col.3, ll.19-21) (emphases added by Board).) The Board also found


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this disclosure consistent with (1) Sears’ description of the field of the invention as

“‘Gesture-Based Navigation,’” (2) Sears’ disclosure that its methods include

“‘determining a command signal from a sequence of user-generated spatial

configurations of at least one pointer[],’” and (3) Sears’ claims reciting “‘capturing

a temporal sequence of digital images of user-generated spatial configurations of at

least one pointer [and] determining a command signal from the temporal sequence

of digital images.’” (Appx19-20 (respectively quoting Appx330 at Abstract,

Appx338 at col.4, ll.3-7, Appx350 at claim 1).)

      Given the foregoing disclosures, the Board found that the claimed method

and Sears’ method both relate to methods for detecting manual gestures and

performing a responsive function, i.e., they are in the same field of endeavor.

(Appx20.)

      The Board also found little merit in Gesture’s argument that Sears is not

reasonably pertinent to the question facing the inventor in the ’079 patent. As the

Board described it, Gesture essentially argued that neither the ’079 patent nor Sears

are directed to the problem resolved in claims 2 and 3, which Gesture argued is

selecting a light source for use in a gesture-based environment. (Appx21 (citing

Appx506-507).) The Board found, however, that Sears was reasonably pertinent to

the problem facing the inventor in the ’079 patent – whether defined broadly as

selecting a light source or narrowly as selecting a light source for use in a gesture-


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based environment – because the inventor and Sears were both concerned with

illuminating a work area well enough so that a camera could accurately capture

hand movements. (Appx20-21.) Based on these findings, the Board determined

that Sears is analogous art to the methods of claims 2 and 3. Id.

      Second, the Board was unconvinced by Gesture’s argument that the

Examiner’s motivation to combine findings on claim 2 “‘lack[] articulated

reasoning and rational underpinnings.’” (Appx22 (quoting Appx508).)

Specifically, Gesture faulted the Examiner’s reliance on Numazaki6 for disclosing

that “LED provides more intense visible light as compared to lamps that emit[]

light in both visible and non-visible spectrum.” (Appx509-510 (citing Appx403-

404); see also Appx403-404 (citing Numazaki Appx829 at col.14, ll.44-56).)

According to Gesture, this finding – and impliedly the Examiner’s related findings

– is defective because Numazaki discloses that “‘LED for emitting lights with the

wavelength in the infrared range can be used’” for illuminating target object 106 in

one of Numazaki’s photo-detection embodiments. (Appx620-621 (quoting

Numazaki Appx489 at col.54, ll.35-36) (emphasis omitted).)

      The Board found this argument uncompelling because Sears teaches “a

known light source for a gesture-based environment,” and it would have been



6
  Numazaki et al., U.S. Patent No. 6,144,366 (issued Nov. 7, 2000) (Appx721-
867).
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obvious to substitute one known prior art element for another known prior art

element according to their established functions. (Appx23 (citing KSR Int’l Co. v.

Teleflex Inc., 550 U.S. 398, 417 (2007); Intel Corp. v. PACT XPP Schweiz AG, 61

F.4th 1373, 1380 (Fed. Cir. 2023)).) The Board also found this argument

unmerited because, although the Examiner cited Numazaki in response to

Appellant’s arguments about Sears, Sears formed the basis for the rejection of

claims 2 and 3. (Appx23.)

      Third, the Board was unpersuaded by Gesture’s assertion that the Examiner

failed to explain why ordinary artisans would replace the bottom most lamp in

Liebermann’s public kiosk 42 with multiple LEDs, as required by claim 3, given

that doing so would allegedly be “‘unnecessary and only increase[] circuit

complexity with little return.’” (Appx24 (quoting Appx512).) The Board found

that this argument rested on the faulty premise that the ordinary “artisan is an

automaton capable of only rote application of the teachings of the references and

incapable of using plural LEDs as set forth in the proposed combination.”

(Appx24-25 (citing KSR v. Teleflex, 550 U.S. at 421 (“A person of ordinary skill is

also a person of ordinary creativity, not an automaton.”)).) The Board agreed with

the Examiner that the claimed invention required nothing more than a “‘simple

substitution of one light source for another,’ i.e., ‘a row of lamps in Lieberman[ n

]’ (such as seen in Figure 5C [Appx309]) with ‘a row of LEDs in Sears.’”


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(Appx25 (quoting Appx603).) The Board also found that Gesture’s attempts to

limit the replacement of lamps in Liebermann’s kiosk to only the bottom lamp

and/or restrict the replacement of the lamps on a 1-to-1 basis unfairly characterized

the Examiner’s findings. (Appx25.)

      4. The substantial new question of patentability raised by Liebermann

      The Board was unconvinced by Gesture’s argument that Liebermann does

not raise an SNQ of patentability, as required for ex parte reexamination under

35 U.S.C. § 304. In particular, the Board found that Gesture’s SNQ argument

merely restates its contentions that as Liebermann does not teach all of Gesture’s

claim limitations and, thus, Liebermann cannot form the basis of an SNQ.

(Appx28 (citing Appx521).) The Board found that Liebermann provides the

teachings missing from the prior art during the original prosecution of the ’079

patent – and, thus, raises an SNQ of patentability – for the same reasons that

Liebermann anticipates Gesture’s claims.

      5. The USPTO’s jurisdiction over the reexamination of the ’079 patent

      The Board found little merit in Gesture’s jurisdictional argument that the

USPTO has no authority to institute reexamination of expired patents and, thus, the

Examiner erred in granting reexamination of the ’079 patent after it expired.

Briefly, Gesture argued that the USPTO’s authority to conduct reexamination

stems from the fact that a patent is a public franchise subject to cancellation, and


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that this authority ends when a patent expires and is no longer a public franchise.

(Appx25 (citing Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC, 138

S. Ct 1365, 1373 (2018) (“Specifically, patents are public franchises that the

Government grants to the inventors of new and useful improvements.” (internal

quotation marks omitted))).)

      The Board disagreed, noting that “the statute authorizing reexamination does

not limit the timing of [] reexamination in the manner argued by Appellant. To the

contrary, the statute states that ‘[a]ny person at any time may file a request for

reexamination by the Office of any claim of a patent on the basis of any prior art

cited under the provisions of section 301.’” (Appx26 (quoting 35 U.S.C. § 302)

(emphasis added by Board).) The Board also disagreed with Gesture’s assertion

that a patent ceases to be a public franchise upon expiration because the patentee

allegedly no longer has any rights in the expired patent. The Board found, instead,

that any decision by this Court on appeal from USPTO proceedings “could have a

consequence on any infringement that occurred during the life of the . . . patent.”

(Appx27 (citing Sony Corp. v. Iancu, 924 F.3d 1235, 1238 n.1 (Fed. Cir. 2019)).)

The Board further noted that this Court “regularly reviews Board decisions where a

patent under reexamination expired prior to the Board issuing its decision. In none

of these cases has the Federal Circuit found a lack of jurisdiction before the




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[USPTO].” (Appx27 (citing In re Rambus, 753 F.3d 1253 (Fed. Cir. 2014); In re

CSB-Sys. Int’l, 832 F.3d 1335, 1338 (Fed. Cir. 2016)).)

      For these reasons, the Board concluded that “the USPTO has jurisdiction for

this reexamination so long as any right remains under the expired patent.”

(Appx27.)

                    III. SUMMARY OF THE ARGUMENT

      Substantial evidence supports the Board’s that Gesture’s representative

claims 1 and 11, and dependent claim 8 are anticipated by Liebermann and that

representative claims 2 and 3 would have been obvious over the combination of

Liebermann and Sears.

      As the Board found, Liebermann’s electronic communication system for the

deaf uses lamps to illuminate a work volume, a camera to capture finger gestures

formed by a deaf person using ASL, and a central processing facility to determine

the gestures as recited in claims 1 and 11. And, as the Board found, Liebermann’s

teachings concerning the use of FFT to calculate the center of gravity of a user’s

hand and path analysis satisfies claim 8’s step of “determining the three-

dimensional position of a point on the user.”

      The Board also rightly found that an ordinary artisan would have been

motivated to substitute Sears’ LEDs for Liebermann’s lamps as recited in




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dependent claims 2 and 3 because they provide more intense light and are more

energy efficient.

      None of Gesture’s rebuttal arguments establish reversible error. First, the

Board correctly construed the term “computer apparatus” in the preamble of

claim 11, and found that it does not restrict its components to a unitary device.

While the list of patentable subject matter in 35 U.S.C. § 101 does not recite an

“apparatus,” the Board noted that it does recite a “machine.” This Court has

consistently construed the term “machine” to include either a single device or a

combination of devices. Given that nothing in the language of claim 11 requires

that the claimed light source, camera, and processor be located within the same

device, the Board correctly construed the term “computer apparatus” as open to

unitary devices and nonunitary devices. Gesture’s arguments against the Board’s

construction impermissibly seek to import limitations from its specification.

      Second, Gesture’s arguments against anticipation by Liebermann lack merit.

Gesture’s assertion that Liebermann’s apparatus cannot anticipate claim 11

because Liebermann’s processing facility is geographically distant from

Liebermann’s lamps and camera is simply a repackaging of its claim construction

argument and fails for the same reason. Gesture also erroneously argues that

Liebermann cannot anticipate claims 1 and 11 because Liebermann’s processing

center uses identifiers to determine a gesture rather than direct camera output.


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However, nothing in the language of the claims or the ’079 patent supports

Gesture’s position that a finger gesture may only be determined directly from

camera output. Accordingly, the Board correctly found claim 1 and 11’s

“determining a gesture” limitation sufficiently met because Liebermann’s

identifiers are themselves derived from camera output. Finally, the Board correctly

found no merit in Gesture’s argument that Liebermann’s use of FFT to calculate

the center of gravity of a user’s hands and path analysis are insufficient to satisfy

claim 8’s step of determining a position of a point on a user.

      Third, Gesture cannot defeat the obviousness of claims 2 and 3 on grounds

that Sears is nonanalogous art. The Board correctly found that the ’079 patent and

Sears are both directed to computer-based devices for sensing manual gestures and,

thus, are in the same field of endeavor. The Board also correctly found that Sears

is reasonably pertinent to the problem facing the inventor in claims 2 and 3, i.e.,

selecting a light source for a gesture-based environment. Gesture also shows no

reversible error in the Board’s finding that an ordinary artisan would have been

motivated to substitute Sears’ LEDs for Liebermann’s lamps because LEDs were

known in the art to be more intense and more energy efficient.

      Fourth, Gesture’s arguments that Liebermann cannot form the basis of a

proper SNQ merely repeat its unsuccessful arguments on anticipation and,

therefore, likewise fail to establish reversible error.


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       Fifth, the agency properly granted ex parte reexamination of the expired

’079 patent. The statutes authorizing ex parte reexamination place no limit on its

timing, and Gesture’s attempts to create such a limit for expired patents is contrary

to this Court’s caselaw. According to Gesture’s syllogism, the Supreme Court’s

recent decision in Oil States holds that a patent is a “public franchise” → as a

public franchise, a patent is subject to reexamination by the USPTO → a patent

ceases to be a “public franchise” when the patent owner no longer has exclusionary

rights under the patent → a patent owner no longer has exclusionary rights under

an expired patent ⸫ the USPTO has no authority to reexamine an expired patent.

The problem with this syllogism is clear: a patent owner retains the right to bring

suit for pre-expiration infringement and collect money damages for up to 6 years

after a patent expires. Thus, even using Gesture’s logic, a patent does not cease to

carry enforceable rights immediately upon expiration – a fact that Gesture is

certainly aware of given that, by its own admission, it had four such infringement

suits pending in district court at the time it filed its opening brief.

       For all these reasons, the Court should affirm the Board’s decision on all

grounds.




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                                 IV. ARGUMENT

      A. Standard of review

      Gesture has the burden of showing that the Board committed reversible

error. In re Watts, 354 F.3d 1362, 1369 (Fed. Cir. 2004).

      Claim construction is a question of law which may include underlying

questions of fact related to extrinsic evidence. Weber, Inc. v. Provisur Techs., Inc.,

92 F.4th 1059, 1066-67 (Fed. Cir. 2024). This Court reviews the Board’s ultimate

claim construction de novo and its supporting factual determinations for substantial

evidence. Dionex Softron GmbH v. Agilent Techs., Inc., 56 F.4th 1353, 1358 (Fed.

Cir. 2023).

      Anticipation is a question of fact that this Court reviews for substantial

evidence. In re Gleave, 560 F.3d 1331, 1334-35 (Fed. Cir. 2009).

      Obviousness “‘is a legal conclusion based on underlying findings of fact.’”

In re Thrift, 298 F.3d 1357, 1363 (Fed. Cir. 2002) (quoting In re Kotzab, 217 F.3d

1365, 1369 (Fed. Cir. 2000)). These factual determinations include the scope and

content of the prior art (Hospira, Inc. v. Fresenius Kabi USA, LLC, 946 F.3d 1322,

1328-29 (Fed. Cir. 2020)); what a reference teaches (Para-Ordnance Mfg., Inc. v.

SGS Importers Int’l, Inc., 73 F.3d 1085, 1088 (Fed. Cir. 1995)); whether a

reference is analogous art (In re ICON Health & Fitness, Inc., 496 F.3d 1374, 1378

(Fed. Cir. 2007)); and whether there is a motivation to combine prior art references


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as claimed (Alza Corp. v. Mylan Labs., Inc., 464 F.3d 1286, 1289 (Fed. Cir.

2006)). This Court reviews the Board’s ultimate determination of obviousness

without deference, and its underlying factual findings for substantial evidence.

In re Gartside, 203 F.3d 1305, 1316 (Fed. Cir. 2000)).

        This Court has defined substantial evidence as that which “‘a reasonable

mind might accept as adequate to support a conclusion.’” Gartside, 203 F.3d at

1312 (quoting Consol. Edison Co. v. NLRB, 305 U.S. 197, 229-30 (1938)).

“[W]here two different, inconsistent conclusions may reasonably be drawn from

the evidence in record, an agency’s decision to favor one conclusion over the other

is the epitome of a decision that must be sustained upon review for substantial

evidence.” In re Jolley, 308 F.3d 1317, 1329 (Fed. Cir. 2002).

        Whether a substantial new question of patentability exists is a question of

fact that this Court reviews for substantial evidence. In re Cellect, LLC, 81 F.4th

1216, 1223 (Fed. Cir. 2023) (citing In re Swanson, 540 F.3d 1368, 1375, 1381

(Fed. Cir. 2008)).

        Finally, the USPTO’s jurisdiction to decide the patentability of patent claims

is a matter of law, which this Court reviews de novo. See Gartside, 203 F.3d at

1315.




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      B. Substantial evidence supports the Board’s findings that
         representative claims 1 and 11 and dependent claim 8 are anticipated
         by Liebermann

      The Board rightly affirmed the Examiner’s rejection of claims 1, 4-9, 11, 12,

and 17-20 as anticipated by Liebermann. (Appx4-16.) In affirming, the Board

designated claim 1 as representative of claims 4-7 and 9, and claim 11 as

representative of claims 12, and 17-20. (Appx4.) As an initial matter, the Board

addressed Gesture’s claim construction argument with respect to representative

claim 11. (Appx10-11.) The Board then addressed Gesture’s arguments with

respect representative claims 1 and 11 and dependent claim 8. Appx12-16.

             1. The Board correctly construed the “computer apparatus” of
                representative claim 11 as not limited to a unitary device

      The claims of an expired patent are construed during ex parte reexamination

using the standard set forth in Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir.

2005) (en banc). See also In re CSE-Sys. Int’l, Inc., 832 F.3d 1335, 1341 (Fed. Cir.

2016). Under this standard, claim terms are given their ordinary and customary

meaning according to a person of ordinary skill in the art at the time of the

invention. Phillips, 415 F.3d at 1313-18. Moreover, although a claim’s terms

must be read in light of its specification, this Court has cautioned that “limitations

are not to be read into the claims from the specification.” In re Van Geuns, 988

F.2d 1181, 1184 (Fed. Cir. 1993); see also Markman v. Westview lnsts., Inc., 52

F.3d 967, 979 (Fed. Cir. 1995) (en banc).

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      Gesture argues that the term “computer apparatus” limits claim 11 to a

unitary device containing a light, camera, and a processor. As the Board correctly

observed (Appx10), the list of patent-eligible subject matter in 35 U.S.C. § 101

does not include an “‘apparatus,’” but rather lists a “ ‘machine.’” This Court has

consistently construed the term “machine” to include “either a singular device or a

combination of devices (e.g., a system).” See Digitech Image Techs. LLC v. Elec.

for Imaging, Inc., 758 F.3d 1344, 1348-49 (Fed. Cir. 2014) (defining a “machine”

as a “concrete thing, consisting of parts, or of certain devices and combination of

devices” (emphasis added)); In re Nuijten, 500 F.3d 1346, 1355 (Fed. Cir. 2007)

(defining a “machine” as including “every mechanical device or combination of

mechanical powers and devices to perform some function and produce a certain

effect or result” (emphasis added)); see also Corning v. Burden, 56 U.S. at 267.

      Additionally, no language recited in the body of claim 11 requires that the

components of the claimed computer apparatus (i.e., the light source, camera, and

processor) be located within the same device. Further, Gesture fails to identify any

disclosure in the ’079 patent that mandates that all components must be on the

same device, or provide any technological reason why an ordinary artisan would

expect the claimed processor incapable of determining a hand gesture if the

processor were located in a separate location from the camera and light source.




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      Nevertheless, Gesture asserts that ordinary artisans would understand the

term “computer apparatus” to refer to a single computing device comprising a

camera, light source, and processor because every embodiment in the ’079 patent

allegedly contains three components within the same device. (See Br. at 12-14.)

As the Board correctly found, this narrow construction is predicated on the

improper importation of a limitation from the specification of the ’079 patent into

claim 11. (Appx11 (citing In re Cruciferous Sprout Litig., 301 F.3d 1343, 1348

(Fed. Cir. 2002) (holding that it is improper to interpret what a claim means by

adding an extraneous limitation appearing in the specification)).) The same

reasoning defeats Gesture’s argument (see Br. at 12-14) that claim 11 should be

limited to a single device because it recites the term “work volume” and the

specification uses this term only in conjunction with a laptop embodiment having

all three components in the same device. (See Br. at 12-14.)

      Gesture’s reliance on the decisions in Cardiac Pacemakers and Hewlett-

Packard as support for a more limited construction is similarly misplaced. (See Br.

at 14-15.) More specifically, Gesture’s opening brief quotes a portion of the

Cardiac Pacemakers decision explaining that claims to “‘a product, device, or

apparatus’” encompass “‘tangible items,’” whereas claims to processes encompass

intangible steps. (See Br. at 14 (quoting Cardiac Pacemakers, Inc. v. St. Jude

Med., Inc., 576 F.3d 1348, 1362 (Fed. Cir. 2009) (en banc)) (emphasis omitted).)


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Gesture’s brief also quotes a sentence from the Hewlett-Packard decision similarly

stating that “‘apparatus claims cover what a device is, not what [it] does.’”

(Appx15 (quoting Hewlett-Packard Co. v. Bausch & Lomb, Inc., Inc., 909 F.2d

1464, 1468 (Fed. Cir. 1990)).) At most, these statements establish that apparatus

claims are not defined by their functions. Neither case suggests – let alone holds –

that all the components of an apparatus claim must be located within a single

device.

      Gesture’s argument (Br. at 14) that the Board improperly relied on a

noncontemporaneous dictionary definition when construing the term “computer

apparatus” is misplaced. The Board cited this definition merely to confirm that its

construction of the term “apparatus” based on the intrinsic record – and this

Court’s precedent – did not conflict with the ordinary meaning of that word. (See

Appx10-11.) Gesture presented – and presents – no evidence that the term

“apparatus” had a different meaning at the time of the invention, i.e., a definition

of “apparatus” that did not include one or more devices. In the absence of such

evidence, the fact that the Board consulted a noncontemporaneous dictionary

definition does not establish reversible error.

      For all these reasons, Gesture fails to establish any reversible error in the

Board’s construction of the term “computer apparatus” as recited in representative

claim 11.


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             2. Liebermann anticipates representative claims 1 and 11

      An invention is anticipated when the prior art expressly or inherently

discloses every limitation of a claimed invention. See In re Gleave, 560 F.3d 1331,

1334 (Fed. Cir. 2009).

      The Board and the Examiner correctly found that Liebermann teaches all of

the elements of representative claims 1 and 11. Gesture’s opening brief disputes

these findings only as they relate to two limitations allegedly found in claims 1 and

11.

      First, Gesture argues that Liebermann fails to disclose a light source,

camera, and processor “all disposed within the same computing device,” as

allegedly required by claim 11, because Liebermann’s “central processing facility”

is not located with lamps 48 and camera 44 inside public kiosk 42. (Br. at 16, see

also Br. at 17-21.) Gesture makes a nearly identical argument with respect to

claim 1’s determining step, i.e., that the determining step “must be executed by the

same computer that provides ‘the claimed light source’ and the claimed ‘camera.’”

(Br. at 25; see also Br. at 23-24.) Both arguments depend entirely on Gesture’s

proposed construction of the term “computer apparatus.” As discussed above, the

Board properly rejected Gesture’s proffered claim construction as inconsistent with

the intrinsic evidence Gesture’s anticipation arguments fail for the same reason.




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      Second, Gesture argues that Liebermann fails to disclose a processor adapted

to determine a gesture “based on [direct] camera output,” as allegedly required by

claim 11, because Liebermann’s system transforms camera 44’s output data into

“identifiers” and these identifiers are used by the processor to determine a signed

gesture. (Br. at 21; see also Br. at 22-23.) As above, Gesture makes a nearly

identical argument as to the “determining, using the camera, the gesture

performed” limitation of claim 1. (See Br. at 25-27 (emphasis omitted).) Nothing

in either of these claims limits the gesture determination in the manner suggested

by Gesture.

      In particular, Claim 11 recites “a processor adapted to determine [a] gesture

. . . based on the camera output.” (Appx47 at claim 11.) Gesture fails to identify

any language in claim 11 or in the specification that limits the processor’s gesture

determination to direct, unaltered output from the camera. (See Br. at 25-27.) As

the Board correctly found, because Liebermann’s “identifiers are themselves based

on the captured images,” Liebermann’s gesture determinations “are therefor also

based on the captured image data.” (Appx13.)

      Moreover, nothing in claim 1 prohibits the inclusion of an additional step of

transforming the camera output data into manageable identifiers prior to

determining the gesture. The preamble of claim 1 recites a “computer-

implemented method comprising.” (Appx47 at claim 1.) It is well-established that


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method claims reciting the transitional phrase “comprising” are open to additional

steps. See, e.g., Invitrogen Corp. v. Biocrest Mfr’g, L.P., 327 F.3d 1364, 1368

(Fed. Cir. 2003) (“The transition ‘comprising’ in a method claim indicates that the

claim is open-ended and allows for additional steps.”). Thus, Gesture exposes no

reversible error in the Board’s finding that Liebermann discloses all of the

limitations of representative claims 1 and 11.

             3. Liebermann teaches “determining a three-dimensional position
                of a point on a user” as recited in dependent claim 8

      The Board correctly found that Liebermann discloses determining a three-

dimensional position of a point on a user according to claim 8. Liebermann uses

three-dimensional video cameras to “‘facilitate recognition of signing motions by

enhancing spatial differences.’” (See Appx504 (quoting Appx327 at col.13, ll.29-

31).) Liebermann also calculates the center of gravity of a user’s hand using FFT

and conducts path analysis. (Appx16 (quoting Appx437-438), Appx437-438

(quoting Appx325 at col.10, ll.59-64).) In addition, Liebermann teaches that this

system may also be used in conjunction with “special gloves” that “allow

discrimination of the hands from the background for the image processing system”

and determining direction of a pointing finger by a deaf person signing.

(Appx681-682 (citing Appx327 at col.13, ll.22-23 (for teaching one of ordinary

skill in the art that “coordinates” of signs are determined); Appx324 at col.7, l.44

to Appx 325 at col.9, l.27 (for disclosing an algorithm for detecting and tracking
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the location of various parts of the head, torso, arms, and legs.).) Gesture makes

three uncompelling arguments to attempt to rebut these anticipation findings.

      First, Gesture argues that Liebermann “likely” enhances spatial differences

in order to “enhance[e] contrast between the deaf user[’]s hands while signing and

the background,” rather than to determine the position of a point on a user. (Br. at

28.) Even accepting this as true, Liebermann’s reason for enhancing spatial

differences is irrelevant to the anticipation inquiry so long as Liebermann’s method

accomplishes the recited function. See In re Schrieber, 128 F.3d 1473, 1478 (Fed.

Cir. 1997). (finding claims to a container for dispensing popcorn anticipated by a

prior art oil can capable of performing the same function). Furthermore,

Liebermann’s teaching about enhancing spatial differences must be read in

conjunction with its teaching that the determination of gestures includes

calculating the centers of gravity for both hands. See Appx313 at Fig. 9; In re

Mouttet, 686 F.3d 1322, 1331 (Fed. Cir. 2012) (explaining reference is “read for all

that it teaches”). Thus, Gesture provides no persuasive argument or evidence

showing that Liebermann fails to disclose the additional limitation of claim 8.

      Second, Gesture argues that Liebermann’s “‘path analysis’ of hands does not

necessarily implicate three-dimensions” because “Liebermann is silent regarding

any of [the] analyses/calculations” used in this analysis. (Br. at 28; see also

Appx504.) Because Liebermann provides a flow chart explaining the steps for


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capturing and processing camera data using path analysis and FFT (see Appx313 at

Fig.9), teaches use of “coordinates” and “specific locations” (see Appx327 at

col.13, ll.22-28), and specifically discloses the use of “three dimensional video

cameras” to “enhanc[e]” operation, one of ordinary skill would have understood

the improvement stemming from the use of three dimensional cameras to lie in the

improved three-dimensional coordinate information supplied to the path analysis

and FFT algorithm. To the extent Gesture faults Liebermann for failing to provide

the details of those calculations, the ’079 patent fails to provide even the most

rudimentary explanation of the processes – let alone the calculations – used to

determine a three-dimensional position of a point on a user according to claim 8.

Thus, Liebermann provides at least as much detail as contained in claim 8. (See

Br. at 28 (citing Tf3 Ltd. v. Tre Milano, LLC, 894 F.3d 1366, 1374 (Fed. Cir. 2018)

(“[A]nticipation requires that ‘[t]he identical invention must be shown in as

complete detail as contained in the patent claim.’”)).)

      Third, Gesture argues that the Board and the Examiner’s reliance on

Liebermann’s teachings about determining “Stokoe’s tab” is misplaced because

“Stokoe’s tab is not a three-dimensional position.” (Br. at 29 (emphasis original).)

Even if true, the Board and the Examiner did not rely solely on Liebermann’s

assessment of Stokoe’s tab. Rather, the Board and the Examiner relied on

Liebermann’s disclosure that determining an ASL sign is a “‘visual-spatial’”


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process “combin[ing] information about the handshape (Stokoe’s dez), the motion

(Stokoe’s sig) and the spatial location of the hands relative to the rest of the body

(Stokoe’s tab). (Appx16 (quoting Appx325 at col.10, ll.59-64) (emphasis

omitted); see also Appx437-438.) Gesture provides no argument or evidence that

the combined information of Stokoe’s dez, sig, and tab are not a three-dimensional

position. Regardless, Liebermann teaches a method and apparatus for going

beyond Stokoe information precisely because “there is a need to effect linguistic

analysis beyond what was recognized by William Stokoe.” (Appx325 at col.10,

ll.54-56.)

      For the foregoing reasons, Gesture fails to demonstrate reversible error in

the Board’s findings that Liebermann anticipates dependent claim 8.

C. Substantial evidence supports the Board’s finding that claims 2 and 3
   would have been obvious based on Liebermann and Sears

      An invention is likely obvious when it involves the simple substitution of

one known element for another according to its established function with

predictable results. KSR v. Teleflex, 550 U.S. at 417.




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      The Board correctly affirmed the Examiner’s rejection of claims 2, 3, 14,

and 15 as obvious over the combination of Liebermann and Sears. Appx17-25. In

affirming, the Board found that claim 2 is representative of claim 14 and claim 3 is

representative of claim 15. Appx5.

      Regarding representative claims 2 and 3, which depend from claim 1, the

Board found that Liebermann and Sears render obvious the requirement that the

light source includes either “a light emitting diode” (claim 2) or “a plurality of

light emitting diodes [LED]” (claim 3). Specifically, the Board agreed with the

Examiner that it would have been obvious to an artisan to substitute Sears’ LEDs

into Liebermann’s lamp 48 to illuminate the claimed work volume given

Liebermann’s disclosures about the need to “ensure adequate lighting of the user’s

hands, face and body” (Appx323 at col.5, ll.52-58), and Sears’ disclosures

regarding the inclusion of LED illumination sources 45 in computer-mounted and

freestanding cameras “to provide constant illumination over [a] field of view” and

“relatively even illumination” (Appx339 at col.5, ll.13-35). (See Appx17 (citing

Appx463); see also Appx23 (citing KSR v. Teleflex, 550 U.S. at 417; Intel Corp. v.

PACT XPP Schweiz AG, 61 F .4th 1373, 1380 (Fed. Cir. 2023)).) The Board and

the Examiner found that an ordinary artisan would be particularly motivated to

make this specific substitution because LEDs were known to be “more intense”

and “more efficient” than incandescent lamps like Liebermann’s lamps 48.


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(Appx22 (emphasis omitted); Appx599 (citing Appx829 at col.14, ll.44-56).)

Gesture raises several arguments to rebut the obviousness of claims 2 and 3 by

Liebermann and Sears. (See Br. at 30-34.) Each fails.

      1. Sears is analogous art to the ’079 patent

      Gesture inaptly argues that Sears is not analogous prior art to the ’079

patent. (Br. at 30-34.) A reference is analogous prior art if it (1) “is from the same

field of endeavor,” or (2) “reasonably pertinent to the particular problem with

which the inventor is involved.” Donner Tech., LLC v. Pro Stage Gear, LLC, 979

F.3d 1353, 1359 (Fed. Cir. 2020) (citing In re Bigio, 381 F.3d 1320, 1325 (Fed.

Cir. 2004)) (cleaned up). Gesture argues that Sears fails as analogous art under

both prongs of this test.

      As before the Board, Gesture inaptly argues that the ’079 patent and Sears

are in different fields of endeavor. (Br. at 30-31; Appx506, Appx618).) Gesture

does not dispute the Board’s finding that the ’079 patent’s field of endeavor

“relates to simple input devices for computers’” that “‘operat[e] by optically

sensing object or human positions and/or orientations.” (Appx19 (quoting

Appx41 at col.1, ll.5357) (emphases added by Board); see also Br. at 32

(describing quoted text as the ’079 patent’s “field of endeavor”) Instead, Gesture

disputes the Board’s finding that Sears’ similarly relates to a “gesture-based

navigation” system that uses a camera and a computer to “‘recogniz[e] and further


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track[] the location and movement of the hand and fingers in order to interpret the

gestural movements into their command meaning.’” (Appx19 (quoting Appx330,

Appx338 at col.3, ll.19-21) (emphases added by Board); see Br. at 30-32 (quoting

same).)

      According to Gesture, Sears’ field of invention broadly concerns electronic

reading machines using optical-character recognition (OCR) and voice-to-text

software. Gesture’s opening brief includes several snippets taken from Sears’

specification as support. (See Br. at 30-31.) Some of these snippets misleadingly

omit text supporting the Board’s finding that Sears, like the ’079 patent, is directed

to a system for recognizing and determining hand gestures:

      • “An optical-input print reading device with voice output for people
        with impaired or no vision in which the user provides input to the
        system from hand gestures.”
          (Appx330 at Abstract (complete sentence); Br. at 30-31 (emphasis
          added to text omitted by Gesture).)

      • “The present invention relates to an electronic reading system for
        converting text to synthesized speech that may be used by low-
        vision and blind people, as well as others that have difficulty reading
        printed text, and more particularly relates to an electronic
        reading system that includes improved functionality for
        allowing the user to navigate within the text.”
          Appx337 at col.1, ll.23-29 (complete sentence); Br. at 31
          (emphasis added to text omitted by Gesture).

Other snippets taken from Sears’ claims similarly omit portions of claim text

supporting the Board’s findings about Sears’ field of endeavor. For example,


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Gesture quotes the preamble of claim 1 (Br. at 31), but disregards the fact that all

of the claim’s steps are directed to the recognition and determination of finger

gestures (see Appx350 at claims 1 and 2). Other citations merely indicate how

many times terms like “OCR” and “text” appear in Sears’ specification without

any further analysis. (See Br. at 31-32.) In short, the evidence Gesture relies on to

attempt to establish that Sears is from a different field of endeavor ignore Sears’

express teaching that its improvement to prior art reading devices is “provid[ing] a

system to permit users to designate text to be read and to specify control system

parameters through manual gestures.” (Appx338 at col.3, ll.19-21.) The evidence

also fails to undermine the Board’s related finding that Sears is in the same field of

endeavor as the ’079 patent as both concern a gesture-based system. (Appx19-20

(quoting Appx338 at col.4, ll.3-7, Appx350 at claim 1).)

      Gesture similarly fails to evince reversible error in the Board’s finding that

Sears is reasonably pertinent to the question facing the inventor in the ’079 patent.

Gesture’s opening brief includes a statement reading that “the Board asserted that

‘Appellant’s claims define the particular problem . . . as selecting a light source.’”

(Br. at 34 (quoting Appx21) (ellipses original).) The Board’s statement must be

read in context and in its entirety:

             We determine that Sears is “reasonably pertinent to the particular
             problem with which the inventor is involved” because
             Appellant’s claims define the particular problem of these
             dependent claims as selecting a light source. Even if we limit
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               the inventor’s particular problem to selecting a light source
               for a gesture-based environment, we still determine that
               Sears is “reasonably pertinent to the particular problem with
               which the inventor is involved.”

(Appx21 (emphases added by Board).) When read in context and without ellipses,

it becomes clear that the Board found Sears reasonably pertinent to the problem

facing the inventor in the ’079 patent – regardless of whether the problem is

defined broadly as “selecting a light source” or more narrowly as “selecting a light

source for use in a gesture-based environment” – because both concern

illuminating an area so that a camera can better capture hand movements.

(Appx20-21.) Nothing in Gesture’s opening brief establishes reversible error in

the Board’s determination that Sears is analogous art to the methods of claims 2

and 3.

         2. An ordinary artisan would have been motivated to replace
            Liebermann’s lamps with Sears’ more intense and more efficient
            LEDs

         Gesture makes several unavailing arguments for why the Board and the

Examiner’s motivation to combine findings on claim 2 are “defective.” (Br. at 36;

see also Appx22 (quoting Appx508).) First, Gesture argues that “neither the Board

nor the Examiner provides any evidence that combining Liebermann and Sears

would provide ‘more intense light more efficiently.’” (Br. at 37 (quoting

Appx404).) Not so. The Examiner cited the Numazaki reference as evidence that



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LEDs were known in the art to be “a more intense and more efficient light source”

than incandescent lamps:

             [I]t is known property (i.e., design incentive consideration)
             . . . generally known that a LED provides more intense light
             more efficiently than lamps. In this case, a light emitting diode
             (LED) provides more intense light and is [a] more efficient light
             source than lamps since a LED provides more intense visible
             light [because] it emits light in [the] visible spectrum but do not
             emit in non-visible spectrum as compared to lamps that emit light
             in both visible and non-visible spectrum such that lamps [are]
             less efficient than a LED (e.g., see [Numazaki, Appx829 at
             col.14. ll.44-56]). Also, a LED can be used as the light source,
             where the LED has a property that it can emit more intense light
             instantaneously when the DUTY ratio of the lighting pulse is
             smaller (that is, when the pulse interval is longer [when]
             compared with a single pulse width), so that it is possible to
             utilize the lighting power efficiently). [] Hence, the property of
             LED [] being a more intense and more efficient light source as a
             design incentive would cause an artisan to substitute one light
             source of a LED or a plurality of LEDs as used in Sears for
             another . . . to illuminate a human body part within a work
             volume.

(Appx599 (emphases added).)

      Second, Gesture complains that the Board and the Examiner “d[id] not

compare the intensity and the efficiency of Liebermann’s lamps with the intensity

and the efficiency of Sears’ LEDs.” (Br. at 36 (emphases added).) In a similar

vein, Gesture faults the Examiner for not providing evidence that Liebermann’s

lamps 48 did not sufficiently illuminate a user’s hands, which Gesture implies is a

predicate to a finding that a motivation for an alternative light source existed. Id.

The Examiner’s finding that LEDs were generally known to be brighter and more
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efficient than incandescent lamps, combined with the Examiner’s citation to

corroborating evidence, are more than sufficient to meet the agency’s burden to

specify the prima facie case for a motivation to combine.

         Finally, Gesture criticizes the Board and the Examiner for not evaluating

“any of the downsides to using LEDs (e.g., cost) that would have been material at

the time of the claimed invention.” (Br. at 36.) The Examiner met the burden of

production by setting forth a prima facie case of obviousness with a reasoned

motivation for swapping Liebermann’s lamps 48 with Sears’ LEDs. After that, the

burden shifted to Gesture to come forward with countering evidence, for example,

argument or evidence that LEDs were too cost prohibitive to suggest their use.

See, e.g., In re Rijckaert, 9 F.3d 1531, 1532 (Fed. Cir. 1993). Gesture failed to do

so. (See Appx509.) Accordingly, this argument also does not establish reversible

error.

         3. An ordinary artisan would have been motivated to incorporate a
            plurality of LEDs according to dependent claim 3

         Gesture raises an unavailing argument that the Board and the Examiner’s

motivation to combine findings are lacking as to claim 3. (Br. at 39-40.) The

Examiner made two findings relevant to this argument: (1) that the bottom most

lamp(s) in Liebermann’s kiosk embodiment satisfy the requirement of claims 1 and

3 that the “light source [is] adapted to direct illumination through a work volume

above the light source” (Appx422 (emphasis original)); and (2) that an ordinary
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artisan would have been motivated to replace a row of lamps in Liebermann’s

kiosk embodiment, including the bottom most lamps, with a plurality of lights as

disclosed by Sears for the reasons discussed with respect to claim 2 (see Appx573,

Appx603). According to Gesture, the Board and the Examiner’s motivation

findings are defective because they allegedly “fail[] to explain why a POSITA

would replace the ‘bottom most lamp’ of Liebermann’s ‘public kiosk,’” especially

given that doing so “increases the circuit complexity with little return.” (Br. at 40.)

      This argument misconstrues the Examiner’s motivation findings.

Liebermann’s kiosk embodiment includes two perpendicular rows of lamps 48.

(See Appx309 at Fig.5c.) The Examiner expressly found that an ordinary artisan

would have been motivated to replace at least one row of lamps 48 with a row of

LEDs, as disclosed by Sears, to better illuminate a user’s hands and body. (See

A573 (citing Appx339 at col.5, ll.15-17 (“In FIG. lb [Appx331], such illumination

is provided by two rows of illumination sources 45 along the lateral edges of the

mount 37.”) (emphasis omitted)); see also Appx25.) Such a replacement would

inherently include at least one of Liebermann’s bottom most lamps. Thus, in

contrast to Gesture’s assertions, the Examiner adequately explained why a

POSITA would replace the bottom most lamp in Liebermann’s kiosk embodiment.

      For all these reasons, Gesture fails to establish reversible error in the Board’s

finding that Liebermann and Sears render dependent claims 2 and 3 obvious.


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      4. The Board correctly found that Gesture failed to separately argue its
         remaining claims

      As before the Board, Gesture’s arguments against obviousness for any of the

remaining claims merely repeat its unavailing rebuttal arguments on the

anticipation of claims 1 and 11. (See Br. at 41-47; Appx5-7 (citing Appx491-505,

Appx513-518).) Specifically, Gesture asserts that Liebermann does not teach the

“determining, using the camera, the gesture performed” step of claim 1 or the

“processor adapted to determine the gesture . . . based on the camera output”

element of claim 11. Id. As the Board found, this argument turns on the

anticipation rejection of claims 1 and 11 and is not a separate argument for

patentability. (Appx5-7.)

D. Liebermann makes out an SNQ warranting ex parte reexamination of the
   ’079 patent

      Before the Board and now, Gesture argues that Liebermann cannot form the

basis of an SNQ because it allegedly does not teach all of the limitations of the

claimed invention. (See Appx521, Br. at 46-47.) Specifically, Gesture asserts that

Liebermann does not teach the “determining, using the camera, the gesture

performed” step of claim 1 or the “processor adapted to determine the gesture . . .

based on the camera output” element of claim 11. (Br. at 46-47.) Thus, Gesture’s

SNQ argument is based on the same faulty premise as its novelty arguments, and it

collapses for the same reasons: claim 1 does not restrict the determining the


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gesture step to data coming directly from the camera to the computer, and claim 11

does not require that the processor be physically located within the claimed

apparatus. Accordingly, Gesture fails to demonstrate any reversible error in the

Examiner’s SNQ findings or in the USPTO’s grant of ex parte reexamination

based thereon.

   E. The USPTO has the authority to reexamine an expired patent where,
      as here, the public franchise has not expired

      In a last-ditch effort to avoid unpatentability, Gesture inaptly argues that the

USPTO had no authority to reexamine its expired patent. Gesture relies on a

statement in the Oil States decision that patents are public franchises “‘subject to

the qualification that the [US]PTO has the authority to reexamine – and perhaps

cancel – a patent claim in an inter partes review.’” (Br. at 47 (quoting Oil States v.

Greene’s Energy, 138 S.Ct. at 1373).) According to Gesture, it necessarily follows

that the USPTO’s authority to conduct ex parte reexamination is similarly

premised on a patent being a public franchise. Gesture argues that, conversely, the

USPTO has no authority to reexamine an expired patent because “the public

franchise ceases to exist” and the patentee “no longer has the right to exclude

others.” (Br. at 47.)

      The Court need not engage in lengthy legal analysis to decide this issue.

Even if Gesture’s articulation of the USPTO’s authority to conduct ex parte

reexamination were entirely correct – which the USPTO does not concede –
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Gesture has not and cannot establish that its right to exclude others under the ’079

patent ended when the patent expired. Binding precedent holds that “an expired

patent may form the basis of an action for past damages subject to the six-year

limitation under 35 U.S.C. § 286.” Genetics Inst., LLC v. Novartis Vaccines and

Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011). Moreover, although a

patentee has fewer rights to transfer when a patent has expired, the owner of an

expired patent can license the rights or transfer title to an expired patent. See

Mars, Inc. v. Coin Acceptors, Inc., 527 F.3d 1359, 1372 (Fed. Cir. 2008) (“Title to

. . . an expired patent . . . includes more than merely the right to recover damages

for past infringement.”), mandate recalled and amended on other grounds by Mars,

Inc. v. Coin Acceptors, Inc., 557 F.3d 1377 (Fed. Cir. 2009); see also Keranos,

LLC v. Silicon Storage Tech, Inc., 797 F.3d 1025, 1033 (Fed. Cir. 2015); Sony

Corp. v. lancu, 924 F .3d 1235, 1238 n.1 (Fed. Cir. 2019).

      Gesture does not deny that it is still “entitled to collect [money] damages

arising from the public franchise that formerly existed [before the ’079 patent

expired] through an infringement action in district court.” (Br. at 47.) Nor could

it. Gesture has availed itself of this right, as evidenced by the pending

infringement suits identified in its Opening Brief. Nevertheless, Gesture argues

that Congress intended to “remove . . . the Patent Office’s jurisdiction [over




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validity] and return[] it to . . . Article III Courts” upon expiration. (Br. at 48.)

Gesture provides no cogent explanation for this assertion. Nor could it.

      As the Board correctly observed, the statutes authorizing reexamination,

35 U.S.C. § 301 et seq., do not limit the timing of reexamination. (Appx26.) To

the contrary, the statute states that “[a]ny person at any time may file a request for

reexamination by the Office of any claim of a patent on the basis of any prior art

cited under the provisions of section 301.” 35 U.S.C. § 302 (emphasis added).

Moreover, this Court regularly reviews Board decisions where a patent under

reexamination expired prior to the Board issuing its decision. In none of these

cases, has the Federal Circuit found a lack of jurisdiction before the USPTO. See,

e.g., Rambus, 753 F.3d 1253 (Fed. Cir. 2014) (appeal from inter partes

reexamination of expired patent); CSB-Sys. Int’l, 832 F.3d 1335 (Fed. Cir. 2016)

(appeal from patent that expired during reexamination). Thus, as the Board

correctly articulated (Appx26-27), the USPTO has jurisdiction for this

reexamination so long as any right remains under the expired ’079 patent.




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                               V. CONCLUSION

      This Court should affirm because the Board’s determination that claims 1,

11, and 8 claims are unpatentable as anticipated, and that claims 1 and 3 are

unpatentable as obvious was correct. The Board’s underlying factual findings are

supported by substantial evidence, and Gesture’s opening brief fails to identify any

reversible error therein. For the same reasons, the Court should also affirm the

Board’s determination that Liebermann provides an SNQ. Finally, the Court

should hold that the USPTO had authority to reexamine the expired ’079 patent.

                                       Respectfully submitted,


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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. Proc. 32(a)(7), I certify that the foregoing BRIEF

FOR DIRECTOR OF THE UNITED STATES PATENT AND TRADEMARK OFFICE complies

with the type-volume limitation required by the Court’s rule. The total number of

words in the foregoing brief, excluding table of contents and table of authorities, is

12.030 words as calculated using the Microsoft Word® software program.

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